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 1                            UNITED STATES DISTRICT COURT
 2                                    DISTRICT OF NEVADA
 3
      UNITED STATES OF AMERICA,                     )   2:10-cr-284-RLH-PAL-4
 4                                                  )
                      Plaintiff,                    )
 5                                                  )
                      vs.                           )   ORDER
 6                                                  )
      PATRICIA BASCOM,                              )
 7                                                  )
                      Defendant.                    )
 8                                                  )

 9

10            On January 22, 2012, the government filed a motion to exclude evidence pertaining to the

11    recording of an alleged call between Ms. Bascom and one of her attorneys, Michael Cristalli.

12    Having considered the government’s motion and any response thereto, it is

13            HEREBY ORDERED that Ms. Bascom may neither refer to nor use any portion of the

14    purported recording of the alleged call between Ms. Bascom and Michael Cristalli or any evidence

15    derived from the purported recording, either at the February 2, 2012, evidentiary hearing on Ms.

16    Bascom’s motion or at any subsequent hearing or trial;

17
                          27th         January
                                       January 2012.
                          27th day of _________,
              DATED this ______
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22                                              UNITED STATES DISTRICT JUDGE

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